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                                 JURISDICTION AND VENUE

        5.     Federal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff

brings claims under 15 U.S.C. §1692 et seq., the Federal Debt Collection Practices Act (“FDCPA”).

        6.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a substantial

part of the events or omissions giving rise to the claims and injuries occurred in the Middle District

of Florida.

                                             PARTIES

        7.     Plaintiff, Robert L. Felder, Jr., is a natural person residing in Polk County, Florida,

where the causes of action arose, is a citizen of the State of Florida, and is a “consumer,” as that

term is defined by 15 U.S.C. § 1692a(3).

        8.     Defendant, Phoenix Financial Services, is a foreign limited liability company, is

headquartered in the State of Indiana, is a resident of Marion County, Indiana, does business in the

State of Florida, and is a “debt collector,” as that term is defined by 15 U.S.C. § 1692a(6).

        9.     Defendant, in the conduct of its business, uses one or more instrumentalities of

interstate commerce or the mails, including without limitation, electronic communication with

Plaintiff.

        10.    The conduct of Defendant was authorized, approved and/or ratified by one or more

officers, directors, or managers of Defendant, and/or they knew in advance that the Defendant was

likely to conduct itself, and allowed them to so act, with conscious disregard of the rights and

safety of others. The agent(s) or employee(s) of Defendant acted within the course and scope of

such agency or employment and acted with the consent, permission and authorization of

Defendant.




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                       CLASS REPRESENTATION ALLEGATIONS

       11.    Plaintiff brings this action as a class action, pursuant to Federal Rule of Civil

Procedure 23, on her own behalf and on behalf of all other similarly situated consumers

       12.    Plaintiff proposes one class related to the conduct described in this Class Action

Complaint (the “Class”).

                                 FDCPA CONSUMER CLASS

       13.    The “FDCPA Consumer Class” is comprised of:

              (a) All consumers in the United States;
              (b) whose debt Defendant communicated information in connection with the
                  collection of such debt;
              (c) to any third-party vendor(s) without the consumer’s prior consent;
              (d) given directly to Defendant for the communications, on or after the date one
                  year before the date of filing of this Complaint.

                                          Numerosity

       14.    The Class is so numerous that joinder of all members is impracticable. The exact

size of the class is unknown, but Plaintiff estimates the FDCPA Class may have approximately

10,000 members.

                                         Commonality

       15.    There are questions of law and fact that are common to the Class and that

predominate over questions affecting any individual Class member. All Class members received

collection letters from Defendant and were subject to the same policies and procedures.

The common questions of law and fact include, without limitation, whether Defendant violated

the FDCPA, 15 U.S.C. § 1692 et seq. by communicating with a third-party mail processor in

connection with the collection of consumer debts.




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                                              Typicality

          16.   Plaintiff’s claims are typical of the claims of the Class, which are based on the same

operative facts and share the same legal theories. Plaintiff has no interest adverse or antagonistic

to the interests of other Class members.

                                 Adequacy of Class Representation

          17.   Plaintiff will fairly and adequately protect the interests of the Class and has retained

experienced counsel, competent in prosecuting class action litigation.

                               Predominance of Common Questions

          18.   The common questions described in Paragraphs 15 predominate over any individual

issues.

                                   Superiority of Class Resolution

          19.   A class action is superior to other methods to fairly and efficiently adjudicate this

Complaint’s claims. Plaintiff does not anticipate any unusual difficulties in managing the class

action because the claims are based on Defendant’s standard conduct patterns.

          20.   A class action will permit many similarly situated persons to prosecute their com-

mon claims in a single forum simultaneously, efficiently, and without the duplication of effort and

expense that numerous individual actions would create.

          21.   A class action will permit many similarly-situated persons to prosecute their com-

mon claims in a single forum simultaneously, efficiently, and without the duplication of effort and

expense that numerous individual actions would create.

          22.   Without a class action, Defendant will continue to violate the Class members’ rights

and the Class members will continue to suffer the loss of their legal rights, as well as monetary

damages.




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       23.     Defendant's actions apply generally to the entire Class and, accordingly, Plaintiff

seeks relief that is appropriate for the entire Class.

                                    FACTUAL ALLEGATIONS

       24.     Plaintiff was alleged to owe Defendant a debt that stemmed from transactions

primarily for personal, family, or household purposes, and is therefore a “debt,” as that term is

defined by 15 U.S.C. § 1692a(5).

       25.     Defendant is a “debt collector” as defined under the FDCPA, 15 U.S.C. § 1692a(6).

Indeed, Defendant holds itself out on its website as having over fifteen (15) years of experience in

debt recovery and stated “[i]f you need help with revenue recovery, leave it to Phoenix Financial:

We deliver the resolutions you want with the resources you need.”

       26.     Defendant sent Plaintiff multiple collection communications in an attempt to collect

on a debt that was in default at the time it was assigned by the original creditor to Defendant for

collection purposes. Moreover, these collection communications stated in pertinent part, “THIS

COMMUNICATION IS FROM A DEBT COLLECTOR. THIS AN ATTEMPT TO COLLECT

A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.”

(emphasis added). A copy of the collection communications is attached hereto as composite

Exhibit A.

       27.     Defendant is not the original creditor and was assigned the debt for collection by

the creditor after the debt was already in default.

       28.     Defendant commenced communicating with Plaintiff regarding the debt by sending

collection letters using a third-party mail processing company.

       29.     Defendant’s collection communication to Plaintiff has a return address of

P.O. Box 4115, Concord, CA 94524.




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       30.     Upon information and belief, this return address belongs to a third-party company

that acts on Defendant’s behalf to perform mail processing services, including the preparation,

sending, and receiving of correspondence related to debt collection for Defendant

(the “mail processor”).

       31.     Defendant disclosed to the mail processor information including: Plaintiff’s name,

address, status as a debtor, and the amount owed to Defendant, among other personal and sensitive

information.

       32.     Defendant instructed the mail processor to use Plaintiff’s personal information to

populate a form collection communication and mail that letter to Plaintiff.

       33.     Pursuant to the FDCPA, 15 U.S.C. § 1692a(2), a “communication” means “the

conveying of information regarding a debt directly or indirectly to any person through any

medium.”

       34.     Defendant’s communication with the mail processor was in connection with the

collection of a debt since it involved disclosure of the debt to a third party with the objective being

communication with and motivation of the consumer to pay the alleged debt. Further, the

communication related to, referenced, and bore a relationship to or association with the debt.

       35.     Plaintiff did not grant any consent to Defendant to communicate with any

third parties in connection with the debt. Further, Defendant did not have the express permission

of a court of competent jurisdiction to communicate with third parties in connection with the debt.

Moreover, the collection communication was not necessary to effectuate any post-judgment

remedy.




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       36.     Further, the collection communication to the third party was not made to the

consumer, his attorney, a consumer reporting agency, the creditor, the attorney of the creditor, or

the attorney of the debt collector.

       37.     The Eleventh Circuit Court of Appeals has held that a debt collector’s transmission

of information to a third party in connection with a debt is a violation of 15 U.S.C. § 1692c(b). See

Hunstein v. Preferred Collection and Mgmt. Svcs., Inc., No. 19-14434, 2021 WL 1556069

(11th Cir. Apr. 21, 2021).

       38.     Upon information and belief, Defendant conveyed information regarding the debt

to more than one third-party vendor.

       39.     Plaintiff did not provide Defendant prior consent to convey any information

regarding the debt to any third-party vendor.

       40.     Sharing private consumer information with third parties is more than a technical

violation of the FDCPA. Such improper disclosure increases the risk that such information will

be inadvertently disclosed or subjected to data breaches by malicious hackers.

       41.     All conditions precedent to this action have occurred, have been satisfied, or have

been waived.




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                                               COUNT I

                         VIOLATION OF THE FDCPA BY DEFENDANT

          42.    This is an action against Defendant for violation of 15 U.S.C. §1692 et seq.

          43.    Plaintiff re-alleges and reincorporates paragraphs 1 through 41, as if fully set forth

herein.

          44.    Defendant uses interstate commerce or the mails in its business, the principal

purpose of which is the collection of debts, or Defendant regularly collects or attempts to collect,

directly or indirectly, debts owed or due, or asserted to be owed or due to another, and is therefore

a “debt collector,” as that term is defined by 15 U.S.C. § 1692a(6).

          45.    Defendant, communicated, directly and/or indirectly, certain information to Plain-

tiff and third parties as set forth above, which constitutes “communication,” as defined by

15 U.S.C. § 1692a(2).

          46.    Through the conduct described above, Defendant violated the following provisions

of the FDCPA:

          15 U.S.C. § 1692c(b)

          Except as provided in section 1692b of this title, without the prior consent of the consumer
          given directly to the debt collector, or the express permission of a court of competent juris-
          diction, or as reasonably necessary to effectuate a post judgment judicial remedy, a debt
          collector may not communicate, in connection with the collection of any debt, with any
          person other than the consumer, his attorney, a consumer reporting agency if otherwise
          permitted by law, the creditor, the attorney of the creditor, or the attorney of the debt
          collector.

          47.    Specifically, Defendant violated 15 U.S.C. § 1692c(b) by, among other things,

communicating with a third party in connection with the collection of the debt, as detailed above.




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       48.     As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to:

(a) actual damages pursuant to 15 U.S.C. § 1692k(a)(1); (b) statutory damages, pursuant to

15 U.S.C. § 1692k(a)(2)(A); (c) reasonable attorneys’ fees and costs, pursuant to

15 U.S.C. § 1692k(a)(3); and (d) all other relief Plaintiff is entitled to under the law. Further, the

FDCPA Consumer Class is entitled to such amounts as this Honorable Court may allow for all

other Class members, without regard to a minimum individual recovery, not to exceed the lesser

of $500,000 or 1 per centum of the net worth of Defendant.

       49.     All conditions precedent to this action have occurred, have been satisfied, or have

been waived.

       50.     Plaintiff has retained the undersigned attorneys to pursue this claim against

Defendant on behalf of the Class members and is obligated to pay a reasonable fee for the attorneys’

services.

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, respectfully

requests this Honorable Court enter a judgment in Plaintiff's favor finding that Defendant violated

15 U.S.C. § 1692c(b) of the FDCPA; awarding Plaintiff actual damages, statutory damages,

attorneys’ fees and costs, class damages, and awarding Plaintiff all such further relief that this

Court deems necessary or appropriate.


                                 DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const. Amend.

7 and Fed. R. Civ. P. 38.




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Dated: September 21, 2021                     Respectfully Submitted,

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                           EXHIBIT A
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                                                                                                                      PHX 1000-0730• 1594435680-00446-446   �

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This notice is from a debt collector. This is an attempt to collect a debt and any information obtained will be used to collect the debt. Unless
you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion thereof, this office will
assume this debt is valid. If you notify this office, in writing, within 30 days from receiving this notice that you dispute the validity of this debt,
or any portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or
verification. If you request of this office in writing within 30 days after receiving this notice, this office will provide you with the name and
address of the original creditor, if different from the current creditor.




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